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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                EASTERN DIVISION

VITO A. PESCE, on behalf of himself            )
and all others similarly situated              )
                Plaintiff                      )
                                               )
       v.                                      )
                                               )
FIRST CREDIT SERVICES, INC.                    )
dba ACCOUNTS RECEIVABLE                        )
TECHNOLOGIES                                   )
           Defendant.                          )      JURY DEMAND

                               COMPLAINT – CLASS ACTION

                                        INTRODUCTION

               1.      Plaintiff brings this action for damages, and other legal and equitable

remedies, resulting from the illegal actions of First Credit Services, Inc. d.b.a. Accounts Receivable

Technologies (hereinafter referred to as“Defendant”) in negligently, knowingly, and/or willfully

contacting Plaintiff on Plaintiff’s cellular telephone without her prior express consent within the

meaning of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (hereinafter referred

to as the “TCPA”) and its practices under the Fair Debt Collection Practices Act, 15 U.S.C. §1692

et seq. (“FDCPA”). The TCPA prohibits unsolicited voice calls to cellular telephones without prior

express consent within the meaning of the TCPA. The FDCPA broadly prohibits unfair or

unconscionable collection methods; conduct which harasses, oppresses or abuses any debtor; and

any false, deceptive or misleading statements, in connection with the collection of a debt.

                               JURISDICTION AND VENUE

               2.      This Court has jurisdiction under 28 U.S.C. §1331 (general federal question),

§1337, 15 U.S.C. § 1692k(d) (FDCPA), and 47 U.S.C. §227 (TCPA). Venue in this District is

proper because defendant transacts business here.
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                                               PARTIES

                3.       Plaintiff Vito Pesce is, and at all times mentioned herein was, an individual

citizen of the State of Illinois, who resides in the district.

                4.       Defendant is a New Jersey corporation that maintains its headquarters at One

Woodbridge Center, Suite 410, Woodbridge, NJ 07095. Defendant maintains a registered agent in

Illinois, Illinois Corporation Service Company. Defendant provides collection services on millions

of defaulted accounts.

                5.       Defendant regularly uses the mail and telephone to attempt to collect

consumer debt and is a debt collector under the FDCPA.

                       THE TELEPHONE CONSUMER PROTECTION
                           ACT OF 1991 (TCPA), 47 U.S.C. § 227

                6.       In 1991, Congress enacted the Telephone Consumer Protection Act, 47 U.S.C.

§ 227 (TCPA), in response to a growing number of consumer complaints regarding certain

telemarketing practices.

                7.       The TCPA regulates, among other things, the use of automated telephone

equipment, or “autodialers.” Specifically, the plain language of section 227(b)(1)(A)(iii) prohibits

the use of autodialers to make any call to a wireless number in the absence of an emergency or the

prior express consent of the called party.

                8.       According to findings by the Federal Communication Commission (“FCC”),

the agency Congress vested with authority to issue regulations implementing the TCPA, such calls

are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater

nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and

inconvenient. The FCC also recognized that wireless customers are charged for incoming calls


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whether they pay in advance or after the minutes are used.

               9.      On January 4, 2008, the FCC released a Declaratory Ruling wherein it

confirmed that autodialed and prerecorded message calls to a wireless number by a creditor (or on

behalf of a creditor) are permitted only if the calls are made with the “prior express consent” of the

called party. The FCC “emphasize[d] that prior express consent is deemed to be granted only if the

wireless number was provided by the consumer to the creditor, and that such number was provided

during the transaction that resulted in the debt owed.”

                                              FACTS

               10.      At all times relevant, plaintiff was an individual residing in the State of

Illinois. Plaintiff is, and at all times mentioned herein was, a “person” as defined by 47 U.S.C. §

153(10).

               11.     Plaintiff did not list his cellular phone number in or on any other documents

at anytime during the transaction that resulted in the debt owed, nor did he verbally provide his

phone number to or consent to any calls on his cellular phone by defendant.

               12.     “During the transaction that resulted in the debt owed,” plaintiff did not

provide his wireless number to defendant nor otherwise provide express consent to receive

prerecorded calls by defendant on plaintiff’s cellular telephone.

               13.     Plaintiff did not provide his current cellular telephone at the time she incurred

this debt, and he never provided the number to any subsequent creditor or defendant.

               14.     Defendant is, and at all times mentioned herein was, a corporation and a

“person”, as defined by 47 U.S.C. § 153(10).

               15.     Notwithstanding the fact plaintiff did not provide defendant with his cellular

number, defendant contacted plaintiff on plaintiff’s cellular telephone. Plaintiff received numerous

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calls on his cellular phone in March 2010.

                16.     All telephone contact by defendant to plaintiff on his cellular telephone

occurred via an “automatic telephone dialing system,” as defined by 47 U.S.C. § 227(a)(1), and all

calls that are the subject of this complaint occurred within four years of the filing of this complaint.

                17.     The telephone number that defendant used to contact plaintiff, with an

“automatic telephone dialing system,” was assigned to a cellular telephone service as specified in

47 U.S.C. § 227(b)(1)(A)(iii).

                18.     The complained of telephone calls constituted calls not for emergency

purposes as defined by 47 U.S.C. § 227(b)(1)(A)(i).

                19.     Plaintiff did not provide “express consent” allowing defendant to place

telephone calls to plaintiff’s cellular phone utilizing an “automatic telephone dialing system,” within

the meaning of 47 U.S.C. § 227(b)(1)(A).

                20.     Defendant did not make telephone calls to plaintiff’s cellular phone “for

emergency purposes” placed by an “automatic telephone dialing system,” as described in 47 U.S.C.

§ 227(b)(1)(A).

                21.     Defendant’s telephone calls to plaintiff’s cellular phone were placed by an

“automatic telephone dialing system” for non-emergency purposes and in the absence of plaintiff’s

prior express consent violated 47 U.S.C. § 227(b)(1)(A).

                22.     Under the TCPA and pursuant to the FCC’s January 2008 Declaratory Ruling,

the burden is on defendant to demonstrate that plaintiff provided express consent within the meaning

of the statute, because it is the best entity to determine how numbers were attained.

                            COUNT I - TCPA (CELLULAR CALLS)

                23.     Plaintiff incorporates the above factual allegations herein.

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                 24.   Defendant made unsolicited commercial phone calls to the wireless telephone

number of plaintiff and the other members of the class using equipment that, upon information and

belief, had the capacity to store or produce telephone numbers to be called, using a random or

sequential number generator.

                 25.   These phone calls were made without the prior express consent of plaintiff

or the class.

                 26.   Defendant has therefore violated the TCPA, 47 U.S.C. § 227(b)(1)(A)(iii),

which makes it unlawful for any person within the United States . . . to make any call (other than a

call made for emergency purposes or made with the prior express consent of the called party) using

any automatic telephone dialing system or an artificial or prerecorded voice . . .” As a result of

defendant’s illegal conduct, the members of the class suffered actual damages and, under section

227(b)(3)(B), are each entitled to, inter alia, a minimum of $500.00 in damages for each such

violation of the TCPA.

                 27.   Because defendant’s misconduct was willful and knowing, the Court should

pursuant to section 227(b)(3)(C), treble the amount of statutory damages recoverable by the plaintiff

and the class.

                 28.   Plaintiff and class members are also entitled to and do seek injunctive relief

prohibiting defendant’s violation of the TCPA in the future.

                               CLASS ALLEGATIONS

                 29.   Plaintiff proposes the following TCPA definition, subject to amendment as

appropriate

               All persons within the United States who, on or after February 28, 2007,
        received a non-emergency telephone call from Defendant to a cellular telephone
        through the use of an automatic telephone dialing system or an artificial or

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       prerecorded voice and who did not provide prior express consent for such calls
       during the transaction that resulted in the debt owed. Collectively, all these
       persons will be referred to as “Plaintiffs” or “Class members.” Plaintiff represents,
       and is a member of, the Class. Excluded from the Class are Defendant and any
       entities in which Defendant has a controlling interest, Defendant’s agents and
       employees, the Judge to whom this action is assigned and any member of the
       Judge’s staff and immediate family, and claims for personal injury, wrongful
       death and/or emotional distress.

               30.     Plaintiff does not know the exact number of members in the Class, but based

upon the representations of defendant, plaintiff reasonably believes that class members number at

minimum in the tens of thousands.

               31.     Plaintiff and all members of the class have been harmed by the acts of

defendant.

               32.     This Class Action Complaint seeks money damages and injunctive relief.

               33.     The joinder of all class members is impracticable due to the size and

relatively modest value of each individual claim. The disposition of the claims in a class action will

provide substantial benefit the parties and the Court in avoiding a multiplicity of identical suits.

The class can be identified easily through records maintained by defendant.

               34.     There are questions of law and fact common to the members of the classes,

which common questions predominate over any questions that affect only individual class

members. Those common questions of law and fact include, but are not limited to, the following:

       a. Whether, beginning on February 28 2007, defendant made nonemergency calls to
       plaintiff and class members’ cellular telephones using an automatic telephone dialing
       system or an artificial or prerecorded voice;
       b. Whether defendant can meet its burden of showing it obtained prior express
       consent (i.e., consent that is clearly and unmistakably stated), during the transaction
       that resulted in the debt owed, to make such calls;
       c. Whether defendant’s conduct was knowing and/or willful;
       d. Whether defendant is liable for damages, and the amount of such damages; and
       e. Whether defendant should be enjoined from engaging in such conduct in the future.


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                35.     As a person who received numerous and repeated telephone calls using an

automatic telephone dialing system or an artificial or prerecorded voice, without his prior express

consent within the meaning of the TCPA, plaintiff asserts claims that are typical of each class

member. Plaintiff will fairly and adequately represent and protect the interests of the class, and she

has no interests which are antagonistic to any member of the class.

                36.     Plaintiff has retained counsel experienced in handling class action claims

involving violations of federal and state consumer protection statutes such as the TCPA.

                37.     A class action is the superior method for the fair and efficient adjudication

of this controversy. Class wide relief is essential to compel defendant to comply with the TCPA.

The interest of class members in individually controlling the prosecution of separate claims against

Defendant is small because the statutory damages in an individual action for violation of the TCPA

are small. Management of these claims is likely to present significantly fewer difficulties than are

presented in many class claims because the calls at issue are all automated and the class members,

by definition, did not provide the prior express consent required under the statute to authorize calls

to their cellular telephones.

                38.     Defendant has acted on grounds generally applicable to the class, thereby

making final injunctive relief and corresponding declaratory relief with respect to the class as a

whole appropriate. Moreover, on information and belief, plaintiff alleges that the TCPA violations

complained of herein are substantially likely to continue in the future if an injunction is not

entered.

                WHEREFORE, plaintiff requests that the Court enter judgment in favor of plaintiff

and the class members and against defendant for:



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       A.      As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1), Plaintiff
               seeks for himself and each Class member $500.00 in statutory damages for each
               and every call that violated the TCPA;
        B.      As a result of Defendant’s willful and/or knowing violations of 47 U.S.C.
                §227(b)(1), Plaintiff seeks for himself and each Class member treble damages, as
                provided by statute, of up to $1,500.00 for each and every call that violated the
                TCPA;
        C.      Injunctive relief prohibiting such violations of the TCPA by Defendant in the
                future;
        D.      An award of attorneys’ fees and costs to counsel for Plaintiff and the Class;
        E.      An order certifying this action to be a proper class action pursuant to Federal Rule
                of Civil Procedure 23, establishing an appropriate Class and any Subclasses the
                Court deems appropriate, finding that Plaintiff is a proper representative of the
                Class, and appointing the lawyers and law firms representing Plaintiff as counsel
                for the Class;
        F.      Such other relief as the Court deems just and proper.

                                          COUNT II - FDCPA
               39.     Plaintiff incorporates the above factual allegations herein.

               40.     Defendant’s practice of placing calls to plaintiff’s cellular phone utilizing

an “artificial or prerecorded voice” or placed by an “automatic telephone dialing system” for non-

emergency purposes and in the absence of plaintiff’s prior express consent was harassing and

annoying. Because plaintiff kept his cellular telephone on or around his person everyday, he was

unable to avoid defendant’s calls.

               41.     Defendant violated the FDCPA, 15 U.S.C. § 1692d,by attempting to harass

and annoy plaintiff by the calls to his cellular telephone.

               WHEREFORE, plaintiff requests that the Court enter judgment in favor of

plaintiff and against defendant for:

                       a.      Statutory damages;
                       b.      Attorney’s fees, litigation expenses and costs of suit;
                       c.      Such other or further relief as the Court deems appropriate.




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                                            Respectfully submitted,
                                            Vito Pesce, Plaintiff
                                            /s/ Keith J. Keogh
                                            By His attorney

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                                         JURY DEMAND

      Plaintiff demands trial by jury.

                                            /s/ Keith J. Keogh




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